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                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Kathleen Deanna          Case No.: 17-14519 - A - 7
           Frutos
                                                Docket Control No. AP-1
                                                Date: 02/20/2018
                                                Time: 9:00 AM

           Matter: [12] - Motion for Relief from Automatic Stay [AP-1] Filed
           by Creditor Bank of America, N.A. (Fee Paid $181) (eFilingID:
           6196029) (ltrf)

           Judge: Fredrick E. Clement
           Courtroom Deputy: Lisamarie Tristan
           Reporter: Electronic Record
           Department: A
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           (by phone) Creditor's Attorney - Alexander K. Lee
           Respondent(s):
           None
           _____________________________________________________________________
                                         CIVIL MINUTES




           Motion: Relief from Stay
           Notice: LBR 9014-1(f)(1); written opposition required
           Disposition: Granted in part, denied in part
           Order: Civil Minute Order
            
           Subject: 550 Gable Way, Hanford, CA
            
           The moving party requests relief from stay under § 362(d)(1), for
           cause, and under § 362(d)(4) on grounds that the subject real
           property securing its loan was transferred by a third party borrower
           to the debtor in this case as part of a scheme to delay, hinder or
           defraud the moving party. The court will grant the motion in part and
           deny the motion in part.
            
           SECTION 362(d)(4) RELIEF
            
           Subsection (d)(4) of § 362 authorizes relief from the automatic stay
           “with respect to a stay of an act against real property . . . by a
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           creditor whose claim is secured by an interest in such real property,
           if the court finds that the filing of the petition was part of a
           scheme to delay, hinder, or defraud creditors . . . .” See 11 U.S.C.
           § 362(d)(4). Such a scheme to delay, hinder, or defraud must involve
           either: (1) an transfer of any interest in such real property without
           the secured creditor’s consent or the court’s approval or (ii)
           multiple bankruptcy filings affecting such property. Id. §
           362(d)(4)(A)–(B).
            
           No factual grounds have been provided showing that the debtor took
           any action to obtain an interest in the real property. The moving
           party has not shown that the debtor participated in the unauthorized
           transfer or had any knowledge of it. The property does not appear on
           the debtor’s Schedule A, of which the court takes judicial notice.
           Fed. R. Evid. 201. The court has no basis to conclude that the debtor
           filed this case in bad faith or as part of a scheme to hinder, delay
           or defraud any creditor.
            
           In addition, the moving party has not shown that the grantee named in
           the copy of the deed attached as an exhibit is in fact the same
           person as the debtor. The moving party has not excluded the
           possibility that a person other than the debtor with the same name as
           the debtor was intended as the grantee. Nor has the moving party
           shown any evidence that the person named in the deed is the same as
           the debtor other than that the names are the same. The property may
           not even be property of the estate.
            
           SECTION 362(d)(1) RELIEF
            
           Given that some uncertainty exists about whether the stay applies,
           the court will grant stay relief. The court grants stay relief for
           cause under § 362(d)(1) because the property is not estate property
           and because the property’s transfer was unauthorized.
            
           CIVIL MINUTE ORDER
            
           The court shall issue a civil minute order that conforms
           substantially to the following form:
            
           Findings of fact and conclusions of law are stated in the civil
           minutes for the hearing.
            
           Bank of America, N.A.’s motion for relief from the automatic stay has
           been presented to the court. Having entered the default of respondent
           for failure to appear, timely oppose, or otherwise defend in the
           matter, and having considered the well-pleaded facts of the motion,
            
           IT IS ORDERED that the motion is granted in part as to relief under
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           11 U.S.C. § 362(d)(1). The automatic stay is vacated for cause under
           § 362(d)(1) with respect to the property described in the motion,
           commonly known as 550 Gable Way, Hanford, CA, as to all parties in
           interest. The 14-day stay of the order under Federal Rule of
           Bankruptcy Procedure 4001(a)(3) is waived. Any party with standing
           may pursue its rights against the property pursuant to applicable
           non-bankruptcy law.
            
           IT IS FURTHER ORDERED that the motion is denied in part as to relief
           under 11 U.S.C. § 362(d)(4). No other relief is awarded. To the
           extent that the motion includes any request for attorney’s fees or
           other costs against the debtor for bringing this motion, the request
           is denied.
